        Case 18-20179                  Doc 6         Filed 04/06/18 Entered 04/07/18 00:41:06                                         Desc Imaged
                                                     Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                 Charles Pappas                                                          Social Security number or ITIN     xxx−xx−6483
                                                                                                 EIN   _ _−_ _ _ _ _ _ _
                         First Name   Middle Name   Last Name

Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name                                    EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court District of Maine
                                                                                                 Date case filed for chapter 13 April 3, 2018

Case number:          18−20179



Official Form 309I                                                                                                                                         12/17

Notice of Chapter 13 Bankruptcy Case
For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                                 About Debtor 2:
1. Debtor's full name                         Charles Pappas

2. All other names used in the
   last 8 years
                                              66 Medawisla Rd.
3. Address                                    Roxbury, ME 04275
                                              Jeffrey P. White Esq.                                          Contact phone (207) 689−2111
                                              Jeffrey P. White and Associates, P.C.
4. Debtor's  attorney
   Name and address
                                              243 Mount Auburn Ave.                                          Email: jwhite@whitelawoffices.com
                                              Suite B−1
                                              Auburn, ME 04210

5. Bankruptcy trustee                         Andrew M. Dudley                                               Contact phone (207) 725−1300
     Name and address                         Standing Chapter 13 Trustee's Office
                                              P.O. Box 429                                                   Email: jawill@chap13.com
                                              Brunswick, ME 04011

6. Bankruptcy clerk's office                                                                                  Hours open:
     Documents in this case may be filed                                                                      Monday−Friday
     at this address.                                                                                         8:30 am − 1:00 pm
     You may inspect all records filed in     537 Congress Street                                             1:30 pm − 4:30 pm
     this case at this office or online at    Portland, ME 04101−3318
      www.pacer.gov.                                                                                          Contact phone (207)780−3482

                                                                                                              Date: April 4, 2018

                                                                                                                    For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                                       page 1
         Case 18-20179                Doc 6         Filed 04/06/18 Entered 04/07/18 00:41:06                                        Desc Imaged
                                                    Certificate of Notice Page 2 of 3
Debtor Charles Pappas                                                                                                                     Case number 18−20179

7. Meeting of creditors                                                                                            Location:
   Debtors must attend the meeting to     April 30, 2018 at 11:00 AM                                               U.S. Trustee's Office, 537 Congress Street,
   be questioned under oath. In a joint                                                                            Suite 300, Portland, ME 04101
   case, both spouses must attend.
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.

                                                      *** Valid photo identification required ***
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: June 29, 2018
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: June 12, 2018
                                           (except governmental units):
                                                                                                                    Governmental units have 180 days from
                                           Deadline for governmental units to file a proof of                       the date of filing the case or the date of
                                           claim:                                                                   conversion to file proof of claim.

                                           Deadline to seek a determination of automatic
                                           dismissal for failure to file all information required
                                           by section 521(a)(1) is 75 days from the date of filing
                                           the case.


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office. An automated proof of claim can be filed online at
                                           https://ecf.meb.uscourts.gov/cgi−bin/autoFilingClaims.pl.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing and Confirmation of              The hearing on confirmation will be held on May 24, 2018 at 10:00 AM , at U.S. Courthouse, Room 30600, 202
   plan                                    Harlow Street, Bangor, ME 04401 .
                                           A copy of the plan and a notice of the hearing on confirmation will be sent separately.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                    page 2
           Case 18-20179            Doc 6       Filed 04/06/18 Entered 04/07/18 00:41:06                        Desc Imaged
                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                     District of Maine
In re:                                                                                                     Case No. 18-20179-maf
Charles Pappas                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0100-2                  User: admin                        Page 1 of 1                          Date Rcvd: Apr 04, 2018
                                      Form ID: 309I                      Total Noticed: 17

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 06, 2018.
db              Charles Pappas,   66 Medawisla Rd.,    Roxbury, ME 04275
smg            +State of Maine,   Bureau of Revenue Services,    Compliance Division Bankruptcy Unit,
                 P.O. Box 1060,   Augusta, ME 04332-1060
2137871        +Boscarino, Grasso & Twachtman, LLP,    628 Hebron Ave., Building 2, Suite 301,
                 Glastonbury, CT 06033-5007
2137875        +Donna Parris,   c/o Connecticut fair Housing,    221 Main St,   Hartford, CT 06106-1864
2137877        +Julie Webber, Trustee,    Farmers Hill Trust,   PO Box 211,   Roxbury, ME 04275-0211
2137878        +Michael J. Coolican,    Bracewell and Giuliani, LLP,   225 Asylum St., Suite 2600,
                 Hartford, CT 06103-1534
2137879        +Robert and Jean Shafer,    1361 Leonard St NE,   Grand Rapids, MI 49505-5512
2137880        +Timothy Bennett-Smyth,    The Connecticutt Fair Housing Center,   221 Main St., 4th Floor,
                 Hartford, CT 06106-1864

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jwhite@whitelawoffices.com Apr 04 2018 20:24:32       Jeffrey P. White, Esq.,
                 Jeffrey P. White and Associates, P.C.,    243 Mount Auburn Ave.,    Suite B-1,
                 Auburn, ME 04210
tr             +E-mail/Text: jawill@chap13.com Apr 04 2018 20:24:48      Andrew M. Dudley,
                 Standing Chapter 13 Trustee’s Office,    P.O. Box 429,    Brunswick, ME 04011-0429
ust            +E-mail/Text: USTPREGION01.PO.ECF@USDOJ.GOV Apr 04 2018 20:24:46       Office of U.S. Trustee,
                 537 Congress Street, Suite 300,    Portland, ME 04101-3490
2137870        +E-mail/Text: r.morales@avidiabank.com Apr 04 2018 20:24:40       Avidia Bank,   42 Main Street,
                 Hudson, MA 01749-2183
2137872        +EDI: CAPITALONE.COM Apr 05 2018 00:28:00      Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
2137873        +EDI: MERRICKBANK.COM Apr 05 2018 00:28:00      Cardworks/CW Nexus,    Attn: Bankruptcy,
                 Po Box 9201,   Old Bethpage, NY 11804-9001
2137874        +EDI: RCSFNBMARIN.COM Apr 05 2018 00:28:00      Credit One Bank,    Attn: Bankruptcy,
                 Po Box 98873,   Las Vegas, NV 89193-8873
2137876         EDI: IRS.COM Apr 05 2018 00:28:00      Internal Revenue Service,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
2137909        +E-mail/Text: usame.ebn@usdoj.gov Apr 04 2018 20:24:45       Office of US Attorney,
                 100 Middle Street,    East Tower, 6th Floor,   Portland, ME 04101-4100
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 06, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 4, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
